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                    12                         UNITED STATES BANKRUPTCY COURT
                    13                          CENTRAL DISTRICT OF CALIFORNIA
                    14                                 LOS ANGELES DIVISION
                    15

                    16   In re:                                       Case No. 2:19-bk-24804-VZ

                    17   YUETING JIA,                                 MEMORANDUM OF POINTS AND
                                                                      AUTHORITIES IN SUPPORT OF
                    18                                                MOTION BY CREDITOR SHANGHAI
                                                       Debtor.        LAN CAI ASSET MANAGEMENT CO,
                    19                                                LTD. TO DISMISS THE DEBTOR’S
                                                                      CHAPTER 11 CASE
                    20
                                                                      Hearing:
                    21                                                Date: March 17, 2020
                                                                      Time: 11:00 a.m.
                    22                                                Place: Courtroom 1368
                                                                             Edward R. Roybal Federal Building
                    23                                                       255 East Temple Street
                                                                             Los Angeles, California 90012
                    24                                                Judge:    Honorable Vincent P. Zurzolo

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                     1          Creditor Shanghai Lan Cai Asset Management Co, Ltd. (“Shanghai Lan Cai”) submits this

                     2   motion (the “Motion”), pursuant to 11 U.S.C. §§ 1112 and 305, to dismiss this Chapter 11 case

                     3   filed by Yueting Jia (“Jia” or the “Debtor”). In support of the Motion, Shanghai Lan Cai

                     4   respectfully states as follows:

                     5                                     PRELIMINARY STATEMENT

                     6          The extraordinary facts and circumstances of this individual Chapter 11 debtor’s case

                     7   compel its dismissal. And, now that this case has been transferred from the Bankruptcy Court of

                     8   the District of Delaware to its proper venue, the time is ripe to address this threshold matter. The

                     9   fundamental and intractable problems presented by the case are not merely plan confirmation
                    10   issues over which parties could quibble down the line. Rather, they raise two critical gating
                    11   items. First, is this U.S. bankruptcy proceeding the appropriate forum to resolve and discharge
                    12   billions of dollars of claims incurred in China, owed to creditors located in China, and that are
                    13   governed by Chinese law? Second, did Jia file this case in good faith? As explained below, the
                    14   answer to both questions is a resounding “no.”
                    15          The Debtor is a Chinese national who fled China about two years ago when its highest
                    16   court placed him on an official list of credit defaulters. His creditors are overwhelmingly located
                    17   in China—including all of the creditors on the Debtor’s list of the largest 20 unsecured claims.1
                    18   Nevertheless, he seeks to use this U.S. Chapter 11 proceeding—relying on a process, language,

                    19   and forum unfamiliar to his creditors—to discharge of all of his debts. The fundamental
                    20   unfairness—and, indeed, the absurdity—of this case is readily illustrated by flipping the role of

                    21   the United States here: if a U.S. citizen incurred billions in debt while living in the U.S., fled to a

                    22   faraway foreign country to escape his U.S. creditors and U.S. authorities, and then sought

                    23   bankruptcy protection in that foreign country to discharge his U.S. debts, the U.S. creditors would

                    24   undoubtedly cry foul. This case is no different. China—and not the United States—has the

                    25   paramount interest in resolving the billions of dollars of debt Jia incurred in that country, and

                    26   therefore the case should be dismissed under well-settled principles of international comity.

                    27
                         1
                    28           See Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy [Dkt. No.
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                         1], at 9–13.
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                     1           Further, the Debtor’s attempt to discharge the claims of his Chinese creditors in a U.S.

                     2   bankruptcy proceeding goes beyond just running roughshod over basic notions of due process.

                     3   His gambit also raises substantial doubts as to whether this U.S. bankruptcy case could even work

                     4   the way it is supposed to. Those creditors who are not subject to U.S. jurisdiction will

                     5   undoubtedly decide that they are better off disregarding the bankruptcy proceedings altogether

                     6   and pursue their claims in China, whose courts are unlikely to recognize the automatic stay and

                     7   discharge. Indeed, creditors have already frozen over hundreds of millions of dollars’ worth of

                     8   the assets of the Debtor and his companies located in China. For his part, Jia has not suggested to

                     9   the Court that he will even try to enforce the automatic stay against creditors pursuing him in
                    10   China who may be subject to this Court’s jurisdiction—in other words, he will do nothing to try
                    11   to ensure equal treatment of creditors. Right out of the gate, therefore, this Court is hamstrung
                    12   from fairly and effectively administering what, under Bankruptcy Code Section 541, is supposed
                    13   to be a worldwide estate.
                    14          The case should be dismissed for the additional reason that it was not filed in good faith.
                    15   The Debtor has not—and cannot—establish that the petition serves a valid reorganization
                    16   purpose. The only proffered “reorganization” objective has nothing to do with Jia himself, but
                    17   rather focuses instead on Faraday & Future (“Faraday”)—a California electric car start-up in
                    18   which Jia holds an indirect minority interest, which interest he is offering his creditors in his
                    19   proposed plan. Faraday, however, is not a debtor in this proceeding, and Jia has presented no
                    20   evidence—let alone a rational explanation—tying Faraday’s future prospects to a plan that

                    21   distributes his minority equity interest in the company to his creditors. When Jia’s purported

                    22   justifications for the filing fall away, as they must, it becomes abundantly clear that Jia filed this

                    23   case to frustrate and stymie the actions that only a few creditors—most notably Shanghai Lan

                    24   Cai—were pursuing against him in this District.

                    25          For these reasons, as more fully explained below, this Chapter 11 case should be

                    26   dismissed.

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                     1                                           BACKGROUND

                     2                   The following background concerning the Debtor contains certain information

                     3   from various news articles. Given the fact that most of the debts at issue in this case were

                     4   incurred in China before the Debtor fled to the United States, many of the articles discussing the

                     5   relevant events in China are in Chinese and have been translated for the Court’s benefit. For the

                     6   avoidance of doubt, the articles are being provided for context and as background only, and

                     7   principally reflect facts that were not disputed before the Delaware Bankruptcy Court by the

                     8   Debtor, who chose not to present any evidence or testify in that forum about these matters.

                     9   I.     The Debtor’s Meteoric Rise And Fall
                    10          Jia is a Chinese national and infamous debtor in his home jurisdiction, owing creditors
                    11   billions in defaulted obligations, in connection with his founding, and the subsequent collapse, of
                    12   his Shenzhen Stock Exchange-traded company, Leshi Internet Information & Technology Corp
                    13   Beijing (“Leshi” or “Le.com”). Leshi is affiliated with LeEco, a major technology conglomerate
                    14   in China controlled by Jia. Initially hailed as “China’s Netflix,” LeEco took on billions in debt as
                    15   part of Jia’s aggressive attempts to launch a variety of ventures, from electric cars to consumer
                    16   electronics.2
                    17          Despite Jia’s apparent initial success with LeEco, however, international media reports

                    18   later outlined a series of fraud and bribery allegations was made against Jia concerning his LeEco

                    19   empire. In particular, he is alleged to have caused his publicly traded company, Leshi, to engage
                    20   in multi-billion dollar insider transactions with companies owned by himself and his family

                    21   members; to have sold shares of Leshi near its apex price and received approximately $814

                    22   million USD; to have promised to loan the proceeds back to the ailing company interest-free, but

                    23   instead to have kept most of the funds; and to have possibly procured the initial public offering

                    24

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                         2
                                See Li Yuan, Reality Bytes: A Highflying Chinese Tech Entrepreneur Falls Back to Earth,
                    27   THE WALL STREET JOURNAL (July 6, 2017), https://www.wsj.com/articles/reality-bytes-a-
                         highflying-chinese-tech-entrepreneur-falls-back-to-earth-1499337030, a true and correct copy of
                    28   which is attached to the Declaration of Dong Ni (Donna) Xu filed in support of this Motion (the
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                         “Xu Declaration”) as Exhibit 1.
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                     1   (“IPO”) of the company through bribery and fraud.3 Indeed, a bribery probe was later launched

                     2   against several government officials who approved the IPO.4

                     3   II.    The Debtor’s Flight From China And Subsequent Injunctions And Freezing Orders

                     4          Eventually, Chinese authorities placed Jia on an official blacklist of creditors in China.

                     5   This blacklist restricted Jia’s ability to travel and spend within China.5 He and his affiliate

                     6   entities also faced dozens of lawsuits in various courts across China. See Schedules of Assets and

                     7   Liabilities and Statement of Financial Affairs [Dkt. No. 28], at 117–25. In addition, Jia’s assets

                     8   were also increasingly the targets of freezing orders in China. In the summer of 2017, the

                     9   Shanghai High People’s Court froze US $181 million worth of Jia’s assets and US $2.3 billion in
                    10   Leshi shares, after a missed interest payment.6 In addition, over the past few years, at least 20
                    11   other courts in China have likewise issued injunctions and freezing orders against Jia’s affiliate

                    12   companies.7

                    13          Instead of dealing with his financial obligations and these pending litigations in his home

                    14   country, Jia fled China in or around July 2017 and came to California, where he is believed to

                    15   have amassed significant real estate holdings in the order of tens of millions of dollars and

                    16   infused almost $1 billion in funding to his most recent venture, the electric car start-up known as

                    17   “Faraday Future.”8

                    18          In late 2017, the Beijing branch of China’s Securities Regulatory Commission (CSRC)

                    19   ordered Jia to return to China to “fulfill his obligation” regarding his mounting debt, and publicly
                    20
                         3
                                 See Daniel Ren, Xue Yu, and Summer Chen, Former Leshi IPO committee members
                    21   detained over troubled video content firm’s 2010 fundraising, SOUTH CHINA MORNING POST
                         (Nov. 2, 2017), https://www.scmp.com/business/companies/article/2118018/former-leshi-ipo-
                    22   committee- members-detained-over-troubled-video. A true and correct copy of this article is
                         attached to the Xu Declaration as Exhibit 2.
                         4
                    23           See id.
                         5
                                 See Amended Civil Minutes Order, California Docket [Dkt. No. 79], at 3 (noting that Jia
                    24   was on the “Chinese government list of debt defaulters”).
                         6
                                 See Exclusive: Cash-Strapped LeEco Sees Assets Frozen, TMT POST (July 6, 2017),
                    25   https://www.tmtpost.com/2669500.html (outlining the several courts in China that have issued
                         freezing orders against Jia’s affiliated entities). A true and correct copy of this article is attached
                    26   to the Xu Declaration as Exhibit 3.
                         7
                                 See id.
                         8
                    27           Danwei Wang, 《棱镜》150 分钟独家对话贾跃亭：赴美这四个月，我想了些什么, TENCENT (Nov. 7,
                         2017), https://stock.qq.com/a/20171107/017341.htm. A true and correct copy of this article,
                    28   together with its partial English translation and translation certificate, is attached to the Xu
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                         Declaration as Exhibit 4.
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                     1   noted his violation of the legal rights of his investors.9 Jia never did so. To date, he remains in

                     2   the United States in violation of that order, and he admits that he is currently a target of

                     3   investigation by that government agency. See Second Amended Disclosure Statement [Dkt. No

                     4   262], at 90. Jia is still a citizen of China and has stayed in the U.S. reportedly on an L-1 visa.10

                     5   III.   The Debtor’s Diversion of Funds Into Faraday Future And California Real Estate,

                     6          While Evading China-Based Creditors

                     7          Since he has left China and his LeEco empire behind, Jia has turned his business attention

                     8   towards his electric car venture, Faraday Future. Faraday Future was incorporated in California

                     9   in May 2014 and has its headquarters in Los Angeles. See Second Amended Disclosure
                    10   Statement [Dkt. No. 262], at 21. While Jia was amassing significant debt in China, and claiming
                    11   publicly that he was unable to repay his already existing debts, he nevertheless transferred
                    12   approximately $1 billion into Faraday Future. See supra n. 10. He does not appear to have
                    13   disclosed the precise source of those funds.
                    14          While he was attempting to build up his electric car start-up, he was also accumulating a
                    15   small empire of mansions in Rancho Palos Verdes. His filings note that he has held interests in
                    16   an entire swath of real estate along the same street as his principal multi-million dollar residence,
                    17   91 Marguerite Drive: 7, 11, 15 and 19 Marguerite Drive. See Second Amended Disclosure
                    18   Statement [Dkt. No. 262], at 42. These properties are owned by an entity known as Ocean View
                    19   Drive, Inc. (“Ocean View”). Ocean View is, in turn, owned by an entity called Success Pyramid
                    20   Ltd, which Jia purportedly sold for $6.4 million to another business associate, Shaojie Chu. See

                    21   Schedules [Dkt. No. 28], at 108. Shanghai Lan Cai believes that Jia has retained his beneficial

                    22   ownership interest in the Ocean View properties, but that interest is not disclosed in the

                    23   Schedules.

                    24

                    25
                         9
                                 See Beijing Securities Regulatory Bureau Announcement Regarding Orders for Jia
                    26   Yueting to Return to China to Fulfill Obligations (Dec. 25, 2017), a true and correct copy of
                         which, along with its certified translation, is attached to the Xu Declaration as Exhibit 5.
                         10
                    27           See Sean O’Kane, Faraday Cage: Can an electric car startup save itself from its
                         founder?, THE VERGE (Oct. 30, 2019), https://www.theverge.com/transportation
                    28   /2019/10/30/20879811/ faraday-future-ceo-founder-jia-yueting-carsten-breitfeld-bankruptcy. A
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                         true and correct copy of which is attached to the Xu Declaration as Exhibit 6.
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                     1          Indeed, this transaction is merely the tip of the iceberg. Upon information and belief, in

                     2   addition to Shaojie Chu, Jia has also used Lian Bossert (a recent college graduate who served as

                     3   nominee for Jia’s interests of West Coast LLC), Chaoying Deng (or Chaoying Bossert, Lian’s

                     4   mother), Jiawei Wang (Jia’s nephew), and Ruokan Jia (another of Jia’s relatives) as nominees for

                     5   holding assets—including interests in companies—or as managers through which Jia has been

                     6   able to exercise control over various corporate interests. See Dec. 18, 2019 Hr’g Tr. 80:3–20

                     7   (Debtor’s counsel explaining that Lian Bossert is the nominee for Jia’s interests in West Coast

                     8   LLC).11

                     9   IV.    The California Judgment Enforcement Proceedings
                    10          Jia’s escape from China did not immunize him from the efforts of his creditors to seek
                    11   repayment of the loans that they extended to his affiliate companies. In January 2018, Shanghai
                    12   Lan Cai obtained an arbitration award of approximately $11 million against Jia and two corporate
                    13   entities in which he had a significant financial interest at the time of the underlying transaction:
                    14   LeTV Sports Culture Develop (Beijing) Co., Limited and TV Plus Holdings (Beijing) Limited.12
                    15   See Memorandum of Points and Authorities in Support of Petitioner’s Ex Parte Application for

                    16   Right-to-Attach Order and Writ of Attachment, Shanghai Lan Cai Asset Management Co, Ltd. v.

                    17   Jia Yueting, 18-cv-10255-SJO-MRW (C.D. Cal) (hereinafter, “California Docket”) [Dkt. No. 5-

                    18   1], at 4. Similarly, another of Jia’s creditors, Shanghai Qichengyueming Investment Partnership

                    19   Enterprise, likewise obtained an arbitral award against him in China and sought to enforce that
                    20   award in this District. See Second Amended Disclosure Statement [Dkt. No. 262], at 18.

                    21          Shanghai Lan Cai’s arbitral award was later recognized by Judge James Otero in an action

                    22   commenced in this District, and Shanghai Lan Cai’s counsel was granted authorization to conduct

                    23   post-judgment enforcement proceedings. See Order Granting Petitioner’s Petition to Confirm

                    24   Arbitration Award, California Docket [Dkt. No. 31]; Final Judgment, California Docket [Dkt. No.

                    25
                         11
                    26           Portions of the transcript of the December 18, 2019 hearing before the Delaware
                         Bankruptcy Court referenced herein are attached to the Xu Declaration as Exhibit 7.
                         12
                    27           While the arbitral award itself was approximately $11 million USD, post-judgment
                         interest was awarded by the federal district court in the Central District of California. See Final
                    28   Judgment, California Docket [Dkt. No. 35], at 2. Shanghai Lan Cai reserves all rights regarding
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                         the amount and priority of its claim.
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                     1   35]. Judge Otero also entered an order on September 3, 2019 that expressly enjoined Jia from

                     2   “transfer[ring]”, “encumber[ing]” or “otherwise mak[ing] unavailable—either personally or

                     3   through instructions to another—any non-exempt assets up to the value of the Court’s judgment.”

                     4   Amended Civil Minutes Order, California Docket (the “Sept. 3, 2019 Order”) [Dkt. No. 79]

                     5   (emphasis added).

                     6          In connection with those proceedings, Jia agreed to be deposed and scheduled the

                     7   deposition for August 2019. Because Jia failed to show up at this deposition, Shanghai Lan Cai

                     8   obtained a court order to conduct a debtor’s examination, pursuant to applicable California state

                     9   procedural rules,13 this time before Magistrate Judge Wilner. See Order to Appear for
                    10   Examination of Judgment Debtor RE: Enforcement of Judgment, California Docket [Dkt. No.
                    11   63].
                    12          That examination was initially scheduled for September 11, 2019, id., but was later
                    13   adjourned at Jia’s request and rescheduled for Thursday, October 17, 2019 and Friday, October
                    14   18, 2019. See Order Granting Joint Stipulation to Continue Judgment Debtor’s Examination of
                    15   Respondent Jia Yueting, California Docket [Dkt. No. 82].     By all accounts, the examination was
                    16   anticipated to move forward as of the morning of October 14, 2019.
                    17   V.     The Chapter 11 Proceedings

                    18          On October 14, 2019, Jia filed his Chapter 11 petition and an unconventional set of papers

                    19   that purported to propose an out-of-court restructuring and a “prepackaged” bankruptcy plan in
                    20   the U.S. Bankruptcy Court for the District of Delaware. The Debtor claimed that venue in that

                    21   District was proper because of his interests in a Delaware entity affiliated with Faraday (West

                    22   Coast LLC), which was incorporated less than three months before the filing, and his purported

                    23   interest in another Delaware entity affiliated with Faraday (Pacific Technology Holding LLC

                    24
                         13
                                 Under the applicable California procedural rules, the service of the order requiring a
                    25   judgment debtor to appear for examination “creates a lien on the personal property of the
                         judgment debtor for a period of one year from the date of the order unless extended or sooner
                    26   terminated by the court.” Cal. C. Civ. P. § 708.110(d). On this basis, Jia has scheduled—on a
                         “disputed” basis—Shanghai Lan Cai’s claim against him as secured. See Schedules of Assets and
                    27   Liabilities and Statement of Financial Affairs [Dkt. No. 28], at 30 (line 2.20 of Schedule D:
                         Creditors Who Have Claims Secured By Property). On this basis, Shanghai Lan Cai has a
                    28   secured claim in these proceedings if the case is not dismissed. See In re Swintek, 906 F.3d 1100,
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                         1103–04 (9th Cir. 2015) (upholding validity of such a lien in bankruptcy).
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                     1   (“Pacific Technology”)), about which the Debtor refused to provide any relevant documentation

                     2   until the middle of the hearing to decide the venue transfer issue.14

                     3        A.       The Funding For The Debtor’s Case
                     4
                                   Shortly before the Debtor filed his Chapter 11 case, he obtained a secured loan from
                     5
                         Pacific Technology. See Second Amended Disclosure Statement [Dkt. No. 262], at 19. Despite
                     6
                         Judge Otero’s Sept. 3, 2019 Order prohibiting the Debtor from encumbering or transferring his
                     7
                         assets up to the value of Shanghai Lan Cai’s judgment, see supra, the Debtor nevertheless both (i)
                     8
                         encumbered his assets by granting to Pacific Technology a security interest in his assets, which
                     9
                         interest was documented in a UCC Financing Statement identifying the security interest to
                    10
                         include “[a]ll assets of the Debtor” without limitation;15 and (ii) transferred the loan proceeds he
                    11
                         received from Pacific Technology to the two sets of lawyers that he currently seeks to retain as
                    12
                         estate professionals. See Shanghai Lan Cai Asset Management Co, Ltd.’s Objection to the
                    13
                         Debtor’s Application to Retain Pachulski Stang Ziehl & Jones LLP [Dkt. No. 128], at 2; Shanghai
                    14
                         Lan Cai Asset Management Co, Ltd.’s Objection to the Debtor’s Application to Retain
                    15
                         O’Melveny & Myers LLP, as Special Corporate, Litigation and International Counsel to the
                    16
                         Debtor [Dkt. No. 106], at 3–4. At no time did the Debtor seek to amend the order or otherwise
                    17
                         obtain authorization from the District Court to engage in this transaction that plainly violated the
                    18
                         order.
                    19
                              B.       The Plan Proposal
                    20
                                   Jia’s plan (the “Plan”) proposes to distribute to creditors interests in a creditor trust that
                    21
                         would hold interests in Faraday Future, through various layers of companies: Pacific Technology,
                    22
                         FF Peak Holding Ltd., FF Top Holding Ltd., Smart King Ltd. and West Coast LLC.
                    23

                    24
                         14
                                  At the December 18, 2019 hearing before the Delaware Bankruptcy Court, Debtor’s
                    25   proposed special counsel, O’Melveny & Myers LLP, provided the LLC agreement that purported
                         to show that Jia had an interest in Pacific Technology in the form of a right to direct the transfer
                    26   of certain interests into the creditor trust. See Dec. 18, 2019 Hr’g Tr. 76:5–9. Jia is not party to
                         the agreement, however, and the Court made no findings concerning whether that agreement, in
                    27   fact, established that Jia had an interest in Pacific Technology. Id. at 84:18–22 (holding question
                         of admissibility of agreement in abeyance).
                         15
                    28            A true and correct copy of the UCC Financing Statement is attached to the Xu Declaration
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                         as Exhibit 8.
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                     1   Significantly, the Plan would result in a distribution to claimants only in the event that Faraday

                     2   successfully undergoes an IPO or is sold, and creditors would be forced to provide certain broad

                     3   non-consensual releases and standstill agreements—not only in favor of Jia, but also his wife.

                     4   See First Amended Plan of Reorganization [Dkt. No. 260], at 47–50, 52–53.

                     5           The Debtor has stated the reason he is pursuing this plan is that Faraday—rather than Jia

                     6   himself—needs additional funding. See Second Amended Disclosure Statement [Dkt. No. 262],

                     7   at 3 (noting that the purpose of the restructuring is “to enable FF to obtain the necessary financing

                     8   and reestablish normal relations with its suppliers”); see also Dec. 18, 2019 Hr’g Tr. 12:24–13:8

                     9   (Debtor’s counsel emphasizing Faraday’s need for bridge financing as an impetus for the filing).
                    10   However, the Debtor has disclosed no details whatsoever about any potential funding or financing
                    11   for Faraday that hinges on the Plan. In the almost three months in which this case has been
                    12   pending, no one from Faraday has appeared in order to substantiate Jia’s naked assertions.
                    13           Nor has the Debtor properly acknowledged that before his indirect interests in Faraday can
                    14   even be transferred to his proposed creditor trust, certain freezing injunctions awarded to
                    15   Shanghai Lan Cai in the British Virgin Islands against the non-debtor parent companies of Smart
                    16   King Ltd. (FF Peak Holding Ltd. and FF Top Holding Ltd.) must first be discharged. See
                    17   Debtor’s Motion for Entry of an Order Authorizing Robert Moon to Act as Foreign
                    18   Representative Pursuant to Section 1505 of the Bankruptcy Code [Dkt. No. 105] ¶ 7 (noting that
                    19   freezes over certain assets in the BVI require additional motion practice before “those assets may
                    20   be included in the Debtor’s Chapter 11 case”); see Shanghai Lan Cai’s Objection to Debtor’s

                    21   Motion to Approve Disclosure Statement [Dkt. No. 273], at 2:16–3:16. In short, the Debtor’s

                    22   Plan is currently illusory.

                    23           On November 13, 2019, Shanghai Lan Cai moved before the Delaware Bankruptcy Court

                    24   for dismissal of Jia’s Chapter 11 case, contending that the Debtor’s lack of good faith and

                    25   principles of international comity compelled dismissal.16 In the alternative, Shanghai Lan Cai

                    26

                    27
                         16
                                See Shanghai Lan Cai Asset Management Co, Ltd.’s Motion (I) To Dismiss the Debtor’s
                    28   Chapter 11 Case or, Alternatively, (II) to Transfer Venue to the Central District of California
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                         [Dkt. No. 89].
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                     1   requested that the case be transferred to this District to allow this Court to decide that question.17

                     2   Several creditors joined in Shanghai Lan Cai’s motion.18

                     3             At a hearing on December 18, 2019, the Delaware Bankruptcy Court granted Shanghai

                     4   Lan Cai’s request to transfer venue, given that the Central District of California is where the

                     5   Debtor resides, where his company Faraday Future is located, and where the actions against Jia in

                     6   the U.S. were pending at the time of the filing. See Dec. 18, 2019 Hr’g Tr. at 144:18–147:16. In

                     7   doing so, the Delaware Bankruptcy Court left it for this Court to determine whether the case

                     8   should be dismissed. See Shanghai Lan Cai Asset Management Co, Ltd.’s Response to the

                     9   Debtor’s Chapter 11 Status Report [Dkt. No. 214], at 3.
                    10                                              JURISDICTION
                    11             This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. § 1334. This is a

                    12   core proceeding pursuant to 28 U.S.C. § 157(b) and may be determined by the Bankruptcy Court.

                    13   Venue is proper pursuant to 28 U.S.C. § 1408.

                    14                                               ARGUMENT

                    15        I.      The Court Should Dismiss The Chapter 11 Case

                    16             Jia’s improperly-filed case should be dismissed because it was filed in bad faith and in

                    17   contravention of the principles of international comity. More fundamentally, a Chapter 11 case

                    18   before this Court is patently unfair to the Chinese creditor body whose claims would be subject to

                    19   adjudication and discharge in these U.S. proceedings.
                    20        A.      Dismissal Is Warranted For “Cause” Pursuant To Section 1112(b)
                    21
                                   Section 1112(b) provides that, except for circumstances inapposite here, “on request of a
                    22
                         party in interest, and after notice and a hearing, the court shall convert a case under this chapter to
                    23
                         a case under chapter 7 or dismiss a case under this chapter, whichever is in the best interests of
                    24
                         creditors and the estate, for cause unless the court determines that the appointment under section
                    25
                         17
                    26          Id. at 33.
                         18
                                See Joinders in the Motion [Dkt. Nos. 110, 121, 136, 138] (O-Film Global (HK) Trading
                    27   Limited, Nanchang O-Film Photoelectric Technology Co., Ltd., Shanghai Qichengyueming
                         Investment Partnership Enterprise (Limited Partnership), Beijing Haidian Technology Financial
                    28   Capital Holding Group Co., Ltd., and Jinan Rui Si Le Enterprise Management Consulting
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                         Partnership).
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                     1   1104(a) of a trustee or an examiner is in the best interests of creditors and the estate.” 11 U.S.C.

                     2   § 1112(b)(1) (emphasis added); see In re Prometheus Health Imaging, Inc., 705 F. App'x 626,

                     3   627 (9th Cir. 2017).

                     4           Once “cause” to dismiss a Chapter 11 case is established, Section 1112(b)(2) establishes a

                     5   high burden for a debtor to avoid dismissal on the basis that it is not in the best interests of

                     6   creditors. Specifically, Section 1112(b)(2) authorizes the Court not to convert or dismiss a case

                     7   pursuant to Section 1112(b)(1) only if it (i) “finds and specifically identifies unusual

                     8   circumstances establishing that converting or dismissing the case is not in the best interests of

                     9   creditors and the estate”; (ii) “there is a reasonable likelihood that a plan will be confirmed”
                    10   within the applicable statutory timetables; and (iii) the grounds for conversion or dismissal
                    11   include “an act or omission of the debtor” that is both excusable and curable. See 11 U.S.C. §
                    12   1112(b)(2).
                    13           Section 1112(b)(4), in turn, provides a non-exhaustive list of grounds for dismissal for
                    14   cause. Those grounds include, for example, an inability to effectuate substantial consummation
                    15   of a confirmed plan. However, grounds not specifically listed in the statute—including bad faith,
                    16   lack of fundamental fairness, and a lack of reasonable possibility of a successful reorganization
                    17   within a reasonable amount of time—may also warrant dismissal. See In re Mense, 509 B.R. 269,
                    18   277 (Bankr. C.D. Cal. 2014) (“In finding a lack of good faith, courts have emphasized an intent to
                    19   abuse the judicial process and the purposes of the reorganization provisions . . . [p]articularly
                    20   when there is no realistic possibility of an effective reorganization and it is evident that the debtor

                    21   seeks merely to delay or frustrate the legitimate efforts of secured creditors to enforce their

                    22   rights.”).

                    23           Here, there is “cause” to dismiss this Chapter 11 case because (1) it was not filed in good

                    24   faith and (2) a U.S. bankruptcy proceeding is not the appropriate means to resolve the claims of

                    25   the Debtor’s almost entirely Chinese creditor body. While Section 1112(b) requires the court to

                    26   consider whether conversion to Chapter 7 or appointment of a trustee are better alternatives to

                    27   dismissal, those remedies cannot resolve the hurdles here to fair and effective administration of

                    28   this case. Additionally, the Debtor cannot identify any “unusual circumstances” counseling
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                     1   against dismissal. Indeed, his proposed plan of reorganization—rather than being likely

                     2   confirmable—is, instead, as the Delaware Bankruptcy Court put it, “like a hope and a prayer.”

                     3   See Dec. 18, 2019 Hr'g Tr. 146:21–23.

                     4          1.      The Petition Was Not Filed In Good Faith
                     5
                                It is well-settled in this Circuit that a lack of good faith is sufficient to warrant dismissal of
                     6
                         a Chapter 11 case. See In re S&S/Moab Enterprises, 83 F.3d 428, 1 (9th Cir. 1996) (observing
                     7
                         that the rule in the Ninth Circuit is “that a lack of good faith in filing a Chapter 11 petition
                     8
                         establishes cause for dismissal”); see also In re Mense, 509 B.R. at 276 (“Good faith is required
                     9
                         in the commencement and prosecution of a chapter 11 case, and the lack thereof constitutes
                    10
                         ‘cause’ for dismissal under § 1112(b)(1).”). Where, as here, there are allegations of bad faith, the
                    11
                         burden is on the debtor to establish his good faith. See In re Prometheus Health Imaging, Inc.,
                    12
                         705 F. App'x 626, 627 (9th Cir. 2017).
                    13
                                The Ninth Circuit has adopted a “totality of facts and circumstances” test to determine a
                    14
                         case was filed in good faith. Id. Under this test, the Court looks at “any factors which evidence
                    15
                         an intent to abuse the judicial process and the purposes of the reorganization provisions” id.,
                    16
                         “whether a debtor is attempting to deter and harass creditors,” In re S&S/Moab Enterprises, 1996
                    17
                         WL 209012, at *2 (9th Cir. Apr. 25, 1996), and whether the case was filed for “tactical reasons
                    18
                         unrelated to reorganization,” In re Moore, 583 B.R. 507, 512 (C.D. Cal. 2018), aff'd sub
                    19
                         nom. Moore v. U.S. Tr. for Region 16, 749 F. App'x 621 (9th Cir. 2019). Moreover, “[i]t
                    20
                         constitutes bad faith to file bankruptcy to impede, delay, forum shop, or obtain a tactical
                    21
                         advantage regarding litigation ongoing in a nonbankruptcy forum.” See In re Gilliam, No. BAP
                    22
                         NC-04-1311-SBRP, 2005 WL 6960202, at *6 (B.A.P. 9th Cir. Aug. 10, 2005). A debtor fails to
                    23
                         meet his burden to establish good faith when he simply asserts that he “filed a proposed
                    24
                         disclosure statement and plan, filed all monthly operating reports, and paid all quarterly fees to
                    25
                         the United States Trustee.” In re St. Paul Self Storage Ltd. P'ship, 185 B.R. 580, 583 (B.A.P. 9th
                    26
                         Cir. 1995). Thus, what matters in this Circuit is not the “form” of the case, but rather its
                    27
                         “substance.” Id.
                    28
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                     1          Here, the Debtor’s case was filed in bad faith for two reasons: first, it was done for tactical

                     2   reasons “to unreasonably deter and harass creditors,” In re Mense, 509 B.R. at 277, and, second,

                     3   the petition represents “an attempt . . . to achieve objectives outside the legitimate scope of the

                     4   bankruptcy laws.” In re Prometheus Health Imaging, Inc., 705 Fed. App’x. at 627.

                     5              a. The Debtor’s Chapter 11 Case Was Filed To Hinder Shanghai Lan Cai’s
                                       Enforcement Proceedings Against Him And To Avoid A Court-Ordered
                     6
                                       Debtor’s Examination
                     7
                                Courts in this Circuit have long been skeptical of bankruptcy filings where the record
                     8
                         demonstrates that the debtor’s “sole objective to simply stay [a creditor’s] collection efforts” and
                     9
                         the debtor engaged in “last minute efforts to transfer away [estate assets].” See, e.g., In re Erkins,
                    10
                         253 B.R. 470, 476 (Bankr. D. Idaho 2000) (dismissing Chapter 11 case for lack of good faith).
                    11
                         And a “creditor's sharp tactics outside of bankruptcy does not undo a debtor's bad faith filing.” In
                    12
                         re SR Real Estate Holdings, LLC, 506 B.R. 121, 128 (Bankr. S.D. Cal. 2014) (dismissing case
                    13
                         despite the fact that the debtor filed his case in response to aggressive creditor pursuit). That is
                    14
                         precisely what happened here.
                    15
                                The Debtor’s course of conduct clearly reveals that he sought to gain a “tactical litigation
                    16
                         advantage” over Shanghai Lan Cai’s increasingly successful steps to uncover his hidden assets in
                    17
                         order to collect on its debt. See In re Gilliam, 2005 WL 6960202, at *6. In the months leading up
                    18
                         to his Chapter 11 filing, Jia suffered a string of defeats in Shanghai Lan Cai’s enforcement
                    19
                         proceeding against him before Judge Otero of the District Court for this District. Judge Otero
                    20
                         was well aware of Jia’s attempts to avoid his legal obligations, evade compliance with his
                    21
                         discovery obligations, and otherwise conceal his assets from creditors. See Sept. 3, 2019 Order,
                    22
                         California Docket [Dkt. No. 79] at 3 (observing that preliminary injunction relief was necessary
                    23
                         due to “his failure to pay creditors” and the fact that he “is on the Chinese government list of debt
                    24
                         defaulters”). In fact, the Court had also signaled it was prepared to find in favor of Shanghai Lan
                    25
                         Cai. Id. at 3 (finding that “[Shanghai Lan Cai] is very likely to prevail on its action to enforce the
                    26
                         judgment against Jia”). Based on these findings, the Court issued its September 3, 2019
                    27
                         preliminary injunction order, prohibiting Jia from, among other things, “transfer[ing]” or
                    28
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                     1   “encumber[ing]” his assets up to the value of Shanghai Lan Cai’s judgment against him, with

                     2   modest exemptions under California law. Id. at 3–4.

                     3                 i.   The Timing Of The Petition
                     4
                                After the Debtor failed to show up at a scheduled deposition, the Court also ordered him
                     5
                         to appear at a debtor’s examination under California law before Magistrate Judge Wilner of this
                     6
                         District, which was set to take place on October 17 and 18, 2019. See Order to Appear for
                     7
                         Examination of Judgment Debtor RE: Enforcement of Judgment, California Docket [Dkt. No.
                     8
                         63]; Order Granting Joint Stipulation to Continue Judgment Debtor’s Examination of Respondent
                     9
                         Jia Yueting, California Docket [Dkt. No. 82].
                    10
                                On the eve of that examination, however—where Jia would be forced to answer questions
                    11
                         regarding his assets, business dealings, and evasion of creditors—he filed his Chapter 11 petition
                    12
                         in Delaware. See Chapter 11 Voluntary Petition [Dkt. No. 1]. At that time, the Debtor did not
                    13
                         face loan defaults or mounting pressure from his Chinese creditor body that required “breathing
                    14
                         room” to reorganize his affairs. Instead, the only creditors pursuing Jia in the U.S. were those
                    15
                         involved in only three or so enforcement proceedings in California—a fact which he has
                    16
                         expressly acknowledged. See Debtor’s Statement Regarding Shanghai Lan Cai Asset
                    17
                         Management Co, Ltd.’s Response to the Debtor’s Chapter 11 Filing [Dkt. No. 66] ¶ 3 (stating that
                    18
                         this Chapter 11 was filed as a result of these enforcement proceedings commenced in the United
                    19
                         States). And the only explanation Debtor’s counsel has given for the timing of the filing was to
                    20
                         prevent the examination from going forward. See Dec. 18, 2019 Hr’g Tr. 98:10–12 (Debtor’s
                    21
                         counsel acknowledging that “we filed before the examination of the debtor”). That alone is
                    22
                         strong indicia of bad faith. See In re St. Paul Self Storage, 185 B.R. 580, 582, 584 (9th Cir.
                    23
                         B.A.P. 1995) (bad faith for debtor to file bankruptcy one day prior to a hearing on a creditor's
                    24
                         discovery motion in state court litigation).
                    25
                                      ii.   The Initial Forum In Which The Petition Was Filed
                    26
                                Moreover, as described above, the petition was filed in Delaware, across the country from
                    27
                         the District in which Shanghai Lan Cai was pursuing him, based on a transparent attempt to
                    28
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                     1   manufacture venue there. Such forum shopping to avoid proceedings in other courts is likewise

                     2   sufficient to find bad faith. See In re WLB-RSK Venture, 296 B.R. 509, 515 (Bankr. C.D. Cal.

                     3   2003), aff'd, 320 B.R. 221 (B.A.P. 9th Cir. 2004), aff'd, 223 F. App'x 555 (9th Cir. 2007)

                     4   (dismissal under Section 1112(b) where the petition was “a forum shopping effort to avoid the

                     5   latest, still pending litigation in the state court”); cf. In re Fairfield Sentry Ltd., 714 F.3d 127, 135

                     6   (2d Cir. 2013) (manipulation of a foreign debtor’s center of main interest in bad faith result in

                     7   denial of Chapter 15 recognition).

                     8                iii.   The Debtor’s Selective Use Of The Automatic Stay Against Shanghai Lan
                                             Cai
                     9
                    10           And, as this case has progressed, Jia has shown that he seeks to use the powers the

                    11   Bankruptcy Code affords him—such as the automatic stay—as a sword and not a shield, with

                    12   Shanghai Lan Cai as the target. For example, after the petition date, Jia’s counsel threatened to

                    13   take action against Shanghai Lan Cai and its counsel for “willful stay violation”—including

                    14   seeking sanctions—if they did not instruct non-debtor third parties to not produce documents in

                    15   response to subpoenas issued to those third parties before the bankruptcy filing, as part of

                    16   Shanghai Lan Cai’s enforcement proceedings See Exhibit 9 to Xu Declaration (email

                    17   correspondence between Jia’s counsel, Pachulski Stang Ziehl & Jones LLP and O’Melveny &

                    18   Meyers LLP, and Shanghai Lan Cai’s counsel, Kobre & Kim LLP). In stark contrast, Jia has

                    19   made no attempt to enforce the worldwide automatic stay against creditors pursuing enforcement

                    20   actions in China that are possibly subject to U.S. jurisdiction, such as seeking a “comfort order”

                         confirming the global nature of the stay. See, e.g., In re Sobelmar Antwerp N.V., No. 15-20423,
                    21
                         2015 WL 1440829 (Bankr. D. Conn. Mar. 17, 2015) (order confirming worldwide effect of
                    22
                         automatic stay); In re Xerium Technologies, Inc., No. 10-11031, 2010 WL 5851796 (Bankr. D.
                    23
                         Del. Mar. 30, 2010) (same).
                    24
                                 Jia’s tactical use of the automatic stay to seek to prevent non-debtors from producing
                    25
                         third-party documents and to stave off enforcement proceedings is yet another quintessential
                    26
                         example of bad faith. See In re Silberkraus, 253 B.R. 890, 902–03 (Bankr. C.D. Cal. 2000) (bad
                    27
                         faith exists when a party uses a bankruptcy filing to stay an ongoing state court litigation); In re
                    28
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                     1   Start the Engines, Inc., 219 B.R. 264, 270 (Bankr. C.D. Cal.1998) (bankruptcy filed in bad faith

                     2   because petition filed for the improper purpose of delaying a state court action).

                     3              b. The Only Reorganization Purpose For The Filing Cited By The Debtor
                                       Involves A Non-Debtor Entity And Therefore Cannot Justify The Filing
                     4

                     5          Jia’s only claimed “reorganization objective” for this case does not even relate to him, but

                     6   rather to Faraday—which is not a debtor in this case. See Second Amended Disclosure

                     7   Statement [Dkt. No. 262], at 3 (noting that Jia “believes that it is imperative to consummate the

                     8   Restructuring as swiftly as possible in order to enable [Faraday] to obtain the necessary financing

                     9   and reestablish normal relationships with suppliers and other parties that do business with . . .

                    10   [Faraday]”). There is no authority for this Court to turn these proceedings into a de facto Chapter

                    11   11 case for Faraday, and this Court should decline Jia’s invitation that it do so.19

                    12          The claimed reorganization objection for the case is not only not legally cognizable, but it

                    13   is also not factually supported. Jia has disclosed nothing to substantiate his assertion that his Plan

                    14   is helpful, let alone necessary, in order for Faraday to obtain new financing. In fact, during the

                    15   December 18, 2019 hearing before the Delaware Bankruptcy Court, Jia’s counsel conceded that it

                    16   was the filing of this bankruptcy case that caused a potential investor in Faraday to withdraw from

                    17   funding the company. See Dec. 18, 2019 Hr’g Tr. 121:10–14 (Debtor’s counsel explaining “[w]e

                    18   were invited by a government entity to go to the Middle East to a sovereign fund, and the minute

                    19   that we filed the Chapter 11 case and it became clear the financial issues, Faraday was

                    20   uninvited.”). Therefore, the only proffered reorganization rationale for the filing can be rejected

                    21   on its face and plainly does not establish the Debtor’s good faith.

                    22          Tellingly, while Jia had the opportunity to present evidence and testify at the December

                    23   18, 2019 hearing in order to satisfy his burden on the issue of good faith, he chose not to do so

                    24   and, indeed, decided not to attend the hearing at all. The case should therefore be dismissed for

                    25   “cause” because Jia has not, and cannot, establish that he filed the case in good faith.

                    26

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                         19
                    28           Of course, as a California corporation, Faraday would have the right to file a Chapter 11
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                         case in the United States. See generally 11 U.S.C. § 109 (a).
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                     1          2.      The Case Should Be Dismissed For “Cause” Under Principles Of
                                        International Comity
                     2

                     3          This Court cannot effectively administer the worldwide estate in this case, and therefore

                     4   Jia’s reorganization cannot be appropriately effectuated in the U.S., given that the center of

                     5   gravity of the claims against Jia lies in China. Under the extraordinary circumstances of this

                     6   case, principles of international comity strongly militate in favor of dismissal.

                     7          Comity is the “recognition which one nation allows within its territory to the legislative,

                     8   executive or judicial acts of another nation, having due regard both to international duty and

                     9   convenience, and to the rights of its own citizens, or of other persons who are under the

                    10   protections of its laws.” Hilton v. Guyot, 159 U.S. 113, 164, 16 S.Ct. 139, 40 L.Ed. 95 (1895).

                    11   Accordingly, courts have dismissed Chapter 11 cases for cause pursuant to Section 1112(b)

                    12   where, as here, the debtor sought to substitute United States law in place of the law of more

                    13   relevant countries. In Yukos, for example, the court dismissed a Chapter 11 proceeding for cause

                    14   after finding that where “the vast majority of the business and financial activities” of the debtor

                    15   occurred in Russia, the debtor “[sought] to substitute United States law in place of Russian law . .

                    16   . and to use judicial structures within the United States in an attempt to alter the creditor priorities

                    17   that would be applicable in the law of other jurisdictions.” In re Yukos Oil Co., 321 B.R. 396,

                    18   410 (S.D. Tex. 2005). The circumstances here mandate the same result.

                    19                          a. The Doctrine Of Prescriptive Comity Applies In This Case And
                                                   Compels Dismissal
                    20
                                The applicable branch of comity known as the “comity of nations” or “prescriptive
                    21
                         comity” looks to whether—out of deference to another sovereign nation’s laws—the exercise of
                    22
                         jurisdiction by a U.S. court is “unreasonable.” See In re Maxwell Commc'n Corp. plc, 93 F.3d
                    23
                         1036, 1047–48 (2d Cir. 1996); see also Mujica v. AirScan Inc., 771 F.3d 580, 598 (9th Cir. 2014)
                    24
                         (explaining that “‘prescriptive comity[]’ . . . guides domestic courts as they decide the
                    25
                         extraterritorial reach of federal statutes”); Paraschos v. YBM Magnex Int'l, Inc., 130 F. Supp. 2d
                    26
                         642, 645 (E.D. Pa. 2000) (“Under the principle of comity between sovereign nations, a district
                    27
                         court should decline to exercise jurisdiction under certain circumstances in deference to the laws
                    28
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                     1   and interests of another foreign country.” (citing Basic v. Fitzroy Engineering, No. 97-1052, 1997

                     2   WL 753336 at *8 (7th Cir. Dec. 4, 1997)).

                     3          In fact, comity principles apply even if there is no competing foreign proceeding. See In

                     4   re Arcapita Bank B.S.C.(c), 575 B.R. 229, 237–38 (Bankr. S.D.N.Y. 2017) (noting that

                     5   “prescriptive comity” shortens the foreign reach of a U.S. statute even absent a competing foreign

                     6   proceeding); see also In re Irish Bank Resolution Corporation Ltd, Case No. 13-12159 (CSS),

                     7   2014 WL 9953792, at *21 (Bankr. D. Del. April 30, 2014) (explaining that “[t]he foreign laws

                     8   need not be identical to their counterparts under the laws of the United States”).20 Thus, the fact

                     9   that there is no established individual bankruptcy proceeding under Chinese law is not a basis to
                    10   conclude that a U.S. bankruptcy proceeding is the appropriate means to resolve the claims of an
                    11   almost entirely China-based creditor body.
                    12          To determine whether it is reasonable to exercise U.S. jurisdiction, courts are instructed to
                    13   look to “familiar choice-of-law factors,” such as “the link between the regulating state and the
                    14   relevant activity, the connection between that state and the person responsible for the activity (or
                    15   protected by the regulation), the nature of the regulated activity and its importance to the
                    16   regulating state, the effect of the regulation on justified expectations, the significance of the
                    17   regulation to the international system, the extent of other states' interests, and the likelihood of
                    18   conflict with other states' regulations.” In re Maxwell Commc'n Corp. plc, 93 F.3d at 1048
                    19   (relying on the Restatement (Third) of Foreign Relations § 403) (other citations omitted). Here,
                    20   those factors all strongly militate in favor of dismissal.

                    21                          b. China Has An Overwhelming And Demonstrated Interest In
                                                   Adjudicating The Underlying Debts At Issue In This Case
                    22

                    23          The Chinese creditor body who issued their Chinese-law-governed loans to Chinese

                    24   companies controlled by Jia, a Chinese national, had no reason to expect that they would be haled

                    25   into a U.S. bankruptcy proceeding that is foreign in every sense of the word. See In re Maxwell,

                    26
                         20
                    27          Indeed, “[a]s Judge Cardozo so lucidly observed: ‘We are not so provincial as to say that
                         every solution of a problem is wrong because we deal with it otherwise at home.’” Ackermann v
                    28   Levine, 788 F.2d 830, 842 (2d Cir. 1986) (quoting Loucks v. Standard Oil Co., 224 N.Y. 99, 110–
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                         11 (1918) (Cardozo, J.)).
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                     1   93 F.3d at 1051 (finding that “England has a much closer connection to these disputes than does

                     2   the United States” where the transfer occurred in England and “English law applied to the

                     3   resolution of disputes arising under” the credit agreements under which the relevant transfers

                     4   were made). Moreover, any resolution of individual creditor claims would plainly turn on the

                     5   interpretation of Chinese contract law. See In re Yukos Oil Co., 321 B.R. at 411 (finding that the

                     6   debtor’s attempt to “substitute United States law” in the place of Russian and international law to

                     7   have “underlying disputes [that] appear[red] to turn on construction of statutes enacted in a

                     8   foreign language” that risked “disagreement as to the translation of the language” all weighed in

                     9   favor of dismissal under Section 1112(b).
                    10          And perhaps most significantly, the Chinese securities regulator has ordered Jia’s return to
                    11   China so that he could resolve his debt in that jurisdiction. See supra n. 9. This could not be a
                    12   clearer indication of China’s strong interest in having a Chinese forum applying Chinese law to
                    13   deal with Jia’s debts. Indeed, Jia has publicly admitted—including at his Section 341(a) meeting
                    14   on December 6, 2019 before the Office of the U.S. Trustee for the District of Delaware21—that he
                    15   intends to parlay any discharge he receives here in the U.S. to improve his standing vis-à-vis the

                    16   Chinese governmental agencies that have censured his misconduct there.22 Further, courts across

                    17   China have frozen over a billion dollars’ worth of Jia’s assets and those of his companies. See

                    18   supra n. 6. Given China’s overwhelming interest in the resolution of Jia’s debt issues, using a

                    19   U.S. bankruptcy process to resolve those debts would therefore cause precisely the type of
                    20   international conflict that comity is designed to avoid. See Linde v. Arab Bank, PLC, 706 F.3d

                    21   92, 109 (2d Cir. 2013) (purpose of international comity is to “avoid conflict with international

                    22   law” (citing In re Maxwell Commc’n Corp., 93 F.3d at 1048)); cf. Mujica 771 F.3d 580 at 597

                    23
                         21
                    24           Given that the Debtor is not fluent in English, his responses at Section 341 meeting to
                         questions from the Office of the U.S. Trustee and from creditors were in Mandarin Chinese and
                    25   were translated to English with a live interpreter. Given the quality of the audio recording and the
                         fact that the recording captured largely only the Chinese responses rather than the English
                    26   translations, Shanghai Lan Cai has not received a fully translated transcript of this meeting to
                         date. It would be pleased to provide such transcript to the Court following that receipt.
                         22
                    27           See 贾跃亭债务处理小组：重组方案通过后，贾跃亭或将回国经营 FF, SOHU (Nov.
                         26, 2019), http://www.sohu.com/a/356023513_100001551, a true and correct copy of which,
                    28   together with its English translation and translation certificate, is attached to the Xu Declaration
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                         as Exhibit 10.
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                     1   (applying “the federal foreign affairs doctrine” to dismiss claims under international comity that

                     2   could interfere with foreign relations).

                     3          Under the doctrine of prescriptive comity, therefore, a U.S. court should defer to a

                     4   Chinese legal system far better equipped to handle these claims of individuals and entities who

                     5   are familiar with that system. Indeed, permitting Jia’s case to continue in a U.S. bankruptcy court

                     6   would undermine the United States’ “strong interest in not assuming the singular burden of

                     7   collection court to the world.” In re Bancredit Cayman Ltd., Bankr. No. 06-11026 (SMB), Adv.

                     8   No. 08-1147, 2008 WL 5396618, at *9 (Bankr. S.D.N.Y. Nov. 25, 2008).

                     9                          c. Given Its Strong Chinese Nexus, The Case Cannot Proceed In A
                                                   Manner That Comports With The Bankruptcy Code
                    10

                    11          Even setting aside the strong Chinese interest in these matters, it is questionable at best

                    12   that this case could proceed in this Court in the way it should. For example, it is likely that any

                    13   discharge granted by a U.S. court will not be enforced by Chinese courts and will be

                    14   unenforceable against Chinese creditors who are not subject to this Court’s jurisdiction. Jia has

                    15   made no showing that the Chinese courts would respect any discharge. Nor has he demonstrated

                    16   that this Court could enjoin a Chinese creditor from acting against assets he holds in China. See

                    17   Fotochrome, Inc. v. Copal Co., 517 F.2d 512, 516–17 (2d Cir. 1975) (holding that a “stay cannot

                    18   be effective . . . without in personam jurisdiction over the creditor who has begun an action in a

                    19   foreign tribunal that is not within the jurisdiction of the United States.”).23

                    20          Jia’s only rejoinder to these points in prior briefing simply sidesteps them, and in fact

                    21   raises its own set of fatal problems. In particular, his opposition to Shanghai Lan Cai’s motion

                    22   filed with the Delaware Bankruptcy Court stated that, through his Chapter 11 case, Jia will not

                    23   seek to resolve “PRC claims” or “claims against PRC assets” but instead seek only to “restructure

                    24
                         23
                    25           See also In re Mak Petroleum, Inc., 424 B.R. 904, 905 (Bankr. M.D. Fla. 2010) (“[T]o
                         enjoin a party from commencing or prosecuting a foreign proceeding . . . the Court must be
                    26   authorized to exercise personal jurisdiction over that entity pursuant to the Due Process Clause of
                         the Fifth Amendment to the U.S. Constitution.”); In re Spanish Cay Co., Ltd., 161 B.R. 715, 726
                    27   (Bankr. S.D. Fla. 1993) (abstaining from exercising jurisdiction over debtor’s Chapter 11 case
                         where the Court “could not prevent Bahamian citizens and the Bahamian governmental agencies
                    28   from proceeding with their claims against the [Bahamian] debtor” even if the Court retained
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                         jurisdiction of the case).
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                     1   his U.S. holdings.” See Debtor’s Opposition to Motion to Dismiss [Dkt. No. 112] at ¶ 38, 42–43.

                     2   In other words, the Debtor’s proposal is that the Chinese creditors pursuing assets in China

                     3   proceed along one track and get to retain whatever assets and rights they receive under Chinese

                     4   law, while the Chinese creditors who have pursued (or could pursue) assets in the U.S. are subject

                     5   to his bankruptcy discharge.

                     6          The Debtor has cited no authority allowing him to pursue a Chapter 11 case by cherry

                     7   picking the assets and claims that will be administered in the case. And for good reason. In a

                     8   Chapter 11 case, the debtor’s estate is comprised of “all legal and equitable interests of the debtor

                     9   in property” (with certain limited exceptions) . . . “wherever located and by whomever held.” 11
                    10   U.S.C. § 541(a) (emphasis supplied); see also 11 U.S.C. § 1334 (e) (providing exclusive
                    11   jurisdiction over worldwide estate of the debtor). And the exclusive circumstance in which the
                    12   Bankruptcy Code sanctions a limited territorial proceeding—where the Chapter 11 case is filed
                    13   following the recognition of a foreign bankruptcy proceeding—does not apply here. See 11
                    14   U.S.C. § 1528. More fundamentally, the manner in which Jia wants to conduct this case would
                    15   turn on its head one of the most sacred and universal principles of bankruptcy law: equal
                    16   treatment of creditors. See Newbery Corp. v. Fireman's Fund Ins. Co., 95 F.3d 1392, 1399 (9th
                    17   Cir. 1996) (noting that one of the “fundamental bankruptcy policies” is “the equal treatment of
                    18   creditors”); In re Rinard, 451 B.R. 12, 19 (Bankr. C.D. Cal. 2011) (noting that one of the two
                    19   “overarching . . . premises of federal bankruptcy law [is] . . . equal treatment among classes of
                    20   creditors”).

                    21          As demonstrated above, there is ample “cause” to dismiss this case under Section 1112(b).

                    22   And Jia plainly cannot meet the high bar of showing that there are “unique circumstances,” as

                    23   required by Section 1112(b)(2), demonstrating that the “best interests of the creditors” will not be

                    24   served by dismissal, as he must do to avoid that result. See 11 U.S.C. § 1112(b)(2). Nor can Jia

                    25   demonstrate that the appointment of a bankruptcy trustee or conversion of his case to a Chapter 7

                    26   better serves the “best interests of the creditors” under Section 1112(b)(2). To the contrary,

                    27   neither appointment of a bankruptcy trustee nor conversion to a case under Chapter 7 can remedy

                    28   the intractable problems presented by this filing. The very nature of the debts involved in this
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                     1   case, the law that governs those debts, and the location of virtually the entire creditor body

                     2   fundamentally hamstring this Court from administering Jia’s estate—let alone doing so in a

                     3   manner that is fair to the Chinese creditor body. Accordingly, the case should be dismissed on

                     4   comity grounds for “cause.”

                     5      B.      Alternatively, The Court Should Dismiss The Chapter 11 Case Pursuant To
                                    Section 305(a) Of The Bankruptcy Code
                     6

                     7           Section 305(a)(1) of the Bankruptcy Code permits a bankruptcy court to dismiss any

                     8   bankruptcy case or suspend all proceedings therein where “the interests of creditors and the

                     9   debtor would be better served by such dismissal . . . .” 11 U.S.C. § 305(a)(1). While courts agree

                    10   that abstention pursuant to Section 305(a) is a form of “extraordinary relief,” the extraordinary

                    11   circumstances here are precisely the type that warrant such relief. See, e.g., In re Xacur, 219 B.R.

                    12   956, 969 (Bankr. S.D. Tex. 1998) (dismissing case of a Mexican national residing in Texas as of

                    13   the petition date under Section 305(a) because “[a] Mexican court may not recognize the

                    14   automatic stay of a United States bankruptcy proceeding” and “[t]here are pending Mexican

                    15   lawsuits to collect on some of the avals at issue”). And, as is the case with dismissals for “cause”

                    16   pursuant to Section 1112(b), “considerations of comity” can also “support abstention pursuant to

                    17   § 305(a).” In re Northshore Mainland Svcs., Inc., 537 B.R. 192, 208 (Bankr. D. Del. 2015).

                    18           For the reasons set forth above, the facts and circumstances of this case cast serious doubt

                    19   as to whether his Chapter 11 filing was and is intended in any way to serve the Chinese creditors’

                    20   interests, and whether this case even could serve those interests.

                    21           In re Northshore Mainland Svcs., Inc. is instructive here. In Northshore, several

                    22   Bahamian entities filed for Chapter 11 protection despite the fact that the underlying debts arose

                    23   from a Bahamian hotel development that were owed to foreign creditors, who the Court found

                    24   might expect to be haled into insolvency proceedings in the Bahamas but certainly not in

                    25   Delaware. See In re Northshore Mainland Svcs, Inc., 537 B.R. at 197. In granting dismissal of

                    26   all of the cases other than that of the Delaware-based entity pursuant to Section 305, the Court

                    27   agreed with the movants’ contention that the case “lack[ed] any meaningful connection to the

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                     1   United States.” Id. at 200. In particular, the Court emphasized the importance of creditors’

                     2   expectations, observing the following:

                     3                  I perceive no reason—and have not been presented with any evidence—
                                        that the parties expected that any “main” insolvency proceeding would take
                     4
                                        place in the United States. In business transactions, particularly now in
                     5                  today’s global economy, the parties, as one goal, seek certainty.
                                        Expectations of various factors—including the expectations surrounding
                     6                  the question of where ultimately disputes will be resolved—are important,
                                        should be respected, and not disrupted unless a greater good is to be
                     7                  accomplished.
                     8
                                        Id. at 206.
                     9
                    10          As the Court found in Northshore, where, among other things, a majority of the parties-in-

                    11   interest are either incorporated or located in a foreign country, expectations of those parties,

                    12   “including the expectations surrounding the question of where ultimately dispute will be

                    13   resolved” are “important, should be respected, and not disrupted unless a greater good is to be

                    14   accomplished.” Id. at 206. Indeed, those factors even outweighed the fact that Bahamian

                    15   insolvency rules did not afford the debtors with the same rights as they would have obtained

                    16   under Chapter 11. Id. at 205. Similarly, here, there is no question that the Chinese creditors

                    17   expected to resolve their disputes with Jia and his entities in China, as evidenced by, among other

                    18   things, the extensive litigation that creditors are pursuing against him in that country.

                    19          For the reasons set forth above and in Section A.2, the case should be dismissed on comity

                    20   grounds pursuant to Section 305.

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                     1                                           CONCLUSION

                     2          For the reasons stated above, Shanghai Lan Cai respectfully requests that this Court enter

                     3   an Order dismissing this case and granting Shanghai Lan Cai such other and further relief as this

                     4   Court may deem just and proper.

                     5   Dated: February 21, 2020                         LESNICK PRINCE PAPPAS LLP
                     6                                                    – AND –
                     7                                                    KOBRE & KIM LLP
                     8

                     9                                                    By: /s/Christopher E. Prince
                                                                               Christopher E. Prince
                    10                                                         Attorneys for Creditor Shanghai Lan Cai
                                                                               Asset Management Co, Ltd.
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                                           PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Lesnick Prince & Pappas LLP, 315 W. Ninth St., Suite 705, Los Angeles, CA 90015.
A true and correct copy of the foregoing document entitled (specify): MEMORANDUM OF POINTS AND
AUTHORITIES IN SUPPORT OF MOTION BY CREDITOR SHANGHAI LAN CAI ASSET
MANAGEMENT CO, LTD. TO DISMISS THE DEBTOR’S CHAPTER 11 CASE will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) 02/21/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
       Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
       Jerrold L Bregman ecf@bg.law, jbregman@bg.law
       Jeffrey W Dulberg jdulberg@pszjlaw.com
       Stephen D Finestone sfinestone@fhlawllp.com
       Alexandra N Krasovec krasovec.alexandra@dorsey.com, claridge.vanessa@dorsey.com
       Ben H Logan blogan@omm.com
       David W. Meadows david@davidwmeadowslaw.com
       Kelly L Morrison kelly.l.morrison@usdoj.gov
       Malhar S Pagay mpagay@pszjlaw.com, bdassa@pszjlaw.com
       Christopher E Prince cprince@lesnickprince.com, jmack@lesnickprince.com;cprince@ecf.courtdrive.com
       Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
       Benjamin Taylor btaylor@taylorlawfirmpc.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Emily Young pacerteam@gardencitygroup.com, rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
                                                                           Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) 02/21/2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.
        Honorable Vincent P. Zurzolo
        United States Bankruptcy Court
        255 E. Temple St., Suite 1360
        Los Angeles, CA 90012
                                                                                                  Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
(state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)               ,I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.
                                                                            Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  02/21/2020                      Christopher E. Prince                                                /s/Christopher E. Prince
  Date                            Printed Name                                                         Signature

                 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


 December 2012                                                                                             F 9013-3.1.PROOF.SERVICE
